         Case 1:06-mc-10427-PBS Document 35 Filed 10/26/07 Page 1 of 1



                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

    UNITED STATES OF AMERICA                       )
                                                   )
                             v.                    )      DOCKET NO. 06-10427-PBS
                                                   )
    JEFFREY SHIELDS                                )
                                                   )


                 ASSENTED-TO MOTION TO EMPANEL ADVISORY JURY

       Now comes defendant Jeffrey Shields through counsel and requests that this Court,

pursuant to Fed. R. Civ. P. 39( c), empanel an advisory jury to try the issue whether Mr. Shields

is a “sexually dangerous person” under 18 U.S.C. § 4248, and to render an advisory opinion.

       The Assistant United States Attorney assigned to this case, Mark Quinlivan, has no

objection to this request.

                                                         JEFFREY SHIELDS

                                                         By his attorney,

                                                         /s/ Page Kelley
                                                         Page Kelley
                                                           B.B.O. #548237
                                                         Federal Defender Office
                                                         408 Atlantic Avenue, 3rd Floor
                                                         Boston, MA 02110
                                                         Tel: 617-223-8061


                                     CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on October 26,
2007.
                                                         /s/ Page Kelley
                                                        Page Kelley
